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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                                Judge R. Brooke Jackson


Civil Action No. 13-cv-00573-RBJ-KMT and 16-cv-00834-MJW

DONALD THORNTON, individually, and as Personal Representative of the
ESTATE OF JEAN THORNTON, and on behalf of all others similarly situated,

       Plaintiffs,

       v.

DAVITA HEALTHCARE PARTNERS, INC.,

       Defendant.

and

FERNANDO MENCHACA, individually and as personal representative of the
Estate of Irma Menchaca,

       Plaintiff,

       v.

DAVITA HEALTHCARE PARTNERS, INC.,

       Defendant.


                     ORDER TO CONSOLIDATE RELATED ACTION




       This matter comes before the Court sua sponte. This Court has been made aware of a new

related case. The Court finds there is good cause to consolidate Menchaca v. DaVita Healthcare

Partners, Inc., No. 16-cv-00834-RBJ-MJW into the previously consolidated case Thornton v.

DaVita Healthcare Partners, Inc., No. 13-cv-00573-RBJ-KMT.




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       The Court orders that related action Menchaca v. DaVita Healthcare Partners, Inc., No.

16-cv-00834-MJW is consolidated and all future filings shall be made on the consolidated docket

under the caption: Thornton v. DaVita Healthcare Partners, Inc., No. 13-cv-00573-RBJ-KMT.

       DATED this 19th day of April, 2016.

                                                   BY THE COURT:




                                                   ___________________________________
                                                   R. Brooke Jackson
                                                   United States District Judge




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